DOCUMENTS UNDER SEAL
                      Case 3:20-cr-00431-VC Document 71 Filed 06/30/21 Page 1 of
                                                            TOTAL TIME (m ins):
                                                                                   1
                                                                                13 minutes
M AGISTRATE JUDGE                           DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                              Elaine Kabiling                            10:30 - 10:43
MAGISTRATE JUDGE                            DATE                                       NEW CASE          CASE NUMBER
Sallie Kim                                 06/30/2021 (Hearing held via Zoom)                           3:20-cr-00431-VC-3
                                                       APPEARANCES
DEFENDANT                                   AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                        PD.      RET.
Juan Daniel Dagio                                    Y        P        Julia Jayne and Ashley Riser             APPT.
U.S. ATTORNEY                               INTERPRETER                              FIN. AFFT               COUNSEL APPT'D
Kevin Barry                                 Not Required                             SUBMITTED        1XQF3UR7XQF
PROBATION OFFICER            PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR                PARTIAL PAYMENT
                              Pepper Friesen                           APPT'D COUNSEL                  OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                               STATUS
      ✔  DPPA ADVISED                                                                                             TRIAL SET
       I.D. COUNSEL                ARRAIGNMENT               BOND HEARING             IA REV PROB. or             OTHER
                                                                                      or S/R
       DETENTION HRG               ID / REMOV HRG            CHANGE PLEA              PROB. REVOC.                ATTY APPT
                                                                                                                  HEARING
                                                      INITIAL APPEARANCE
        ADVISED                   ADVISED                    NAME AS CHARGED             TRUE NAME:
        OF RIGHTS                 OF CHARGES                 IS TRUE NAME
                                                         ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON               READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                 SUBSTANCE
                                                          RELEASE
      RELEASED            ISSUED                      AMT OF SECURITY          SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND             $                                                      SURRENDERED
                                                                                                             DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                  DETAINED          RELEASED         DETENTION HEARING                REMANDED
      FOR             SERVICES                                                     AND FORMAL FINDINGS              TO CUSTODY
      DETENTION       REPORT                                                       W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
      CONSENT                    NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
      ENTERED
      PRESENTENCE                CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
      REPORT ORDERED                                         FILED
                                                         CONTINUANCE
TO:                               ATTY APPT                 BOND                     STATUS RE:
7/2/2021                          HEARING                   HEARING                  CONSENT                    TRIAL SET

AT:                               SUBMIT FINAN.               PRELIMINARY            CHANGE OF                  67$786
                                  AFFIDAVIT                   HEARING                PLEA
10:30 AM                                                      BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                   $55$,*1MENT             MOTIONS                   JUDGMENT &
                                  HEARING                                                                       SENTENCING
Tse
       TIME W AIVED               TIME EXCLUDABLE             IDENTITY /             PRETRIAL                   PROB/SUP REV.
                                  UNDER 18 § USC              REMOVAL                CONFERENCE                 HEARING
                                  3161                        HEARING
cc: AGT                                           ADDITIONAL PROCEEDINGS                       DOCUMENT NUMBER:

All parties consent to hearing by Zoom. Forfeiture allegations are denied. Matter referred to Pretrial Services for full bail study.
